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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PETERSEN ENERGÍA INVERSORA, S.A.U. and
PETERSEN ENERGÍA, S.A.U.,

                               Plaintiffs,

             -against-

ARGENTINE REPUBLIC and YPF S.A.,                            Case Nos.:

                               Defendants.                  1:15-cv-02739-LAP
                                                            1:16-cv-08569-LAP

ETON PARK CAPITAL MANAGEMENT, L.P.,
ETON PARK MASTER FUND, LTD., and
ETON PARK FUND, L.P.,

                               Plaintiffs,

             -against-

ARGENTINE REPUBLIC and YPF S.A.,

                               Defendants.


                         PLAINTIFFS’ POST-HEARING BRIEF


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                                PRELIMINARY STATEMENT

       This Court’s detailed summary judgment opinion has already resolved the vast majority of

this case, establishing that Argentina breached its obligations under the Bylaws “no later than May

7, 2012.” ECF No. 437, at 28. The Court’s meticulous opinion left only two issues to be resolved:

(1) whether Argentina breached earlier by taking direct or indirect “control of [Repsol’s] shares”

via the Intervention Decree; (2) what “precise rate” of prejudgment interest to apply based on “the

commercial rate applied by Argentine courts,” which is “between 6% and 8%.” Id. at 56, 62-63.

       The evidence relevant to those two issues is straightforward and largely undisputed. First,

Argentina acquired and exercised control of Repsol’s shares when it issued the Intervention Decree

on April 16, 2012. Through the Decree, Argentina displaced the YPF Board and Chairman that

Repsol had elected, and installed the Intervenor and Vice-Intervenor in their place—depriving

Repsol of the central right of a majority shareholder to select the Board. That seizure of control

over Repsol’s shares was reflected in the markets, where the share price plunged by 40% after the

Decree, while barely budging three weeks later. It was confirmed by Argentina’s contemporaneous

statements recognizing the change in control, PX-15 at 22, and its contemporaneous actions, as

Argentina canceled the shareholders’ meeting that Repsol had called for April 25—making it

impossible for Repsol to vote its shares or approve the capital distribution on the agenda (which

as a result never occurred). And it was reconfirmed by the unambiguous determination of

Argentina’s own federal appraisal agency of what Argentina took from Repsol—51% of YPF’s

shares—and when it dispossessed Repsol of those shares—April 16, 2012.

       As the trial showed, Argentina has no real response. The material facts are undisputed.

Argentina concedes that it took control of YPF as a company through the Intervention Decree; it

argues only that it somehow avoided taking even indirect control of the shares in doing so. But

Argentina has never explained (and cannot explain) how it could take total control of a publicly


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traded company from the majority shareholder without exercising even indirect control over that

majority shareholder’s shares. That explains why Argentina did its best, before and during trial,

to ignore the key Bylaws language, which requires a tender offer if Argentina exercises control of

the shares “directly or indirectly, by any means or instrument.” PX-3 at 22 (Bylaws § 28(A)).

Instead of confronting that broad functional language, Argentina reverts to formalities, arguing that

it could not vote the shares before May 7 and did not actually vote them until the rescheduled

shareholders’ meeting on June 4. The Bylaws’ text, however, turns on when Argentina directly or

indirectly “exercise[d] the control of ” the shares, not when it formally exercised the voting rights

belonging to the shares. Id. As with its earlier unsuccessful focus on formal ownership, see ECF

No. 437, at 27-28, Argentina ignores that the Bylaws’ protections were written capaciously and

functionally, not narrowly and formally, because investors insisted on a robust precommitment

before investing in the state-owned oil company of a nation with a history of economic nationalism.

       Second, this Court should award prejudgment interest at 8%. The Court held at summary

judgment that “the commercial rate applied by Argentine courts” governs, id. at 63, and both the

case law and trial make clear that rate is between 6% and 8%. Argentina’s own expert, Dr.

Manóvil, confirmed that apart from one outlier panel, every modern decision from the Argentine

court for general commercial cases has been in that range or above. And Prof. Fischel’s testimony

was undisputed that even the high end of the range—8% simple interest—would undercompensate

Plaintiffs for being forced to serve as Argentina’s involuntary creditors for over a decade.

       Again, Argentina has no real response. Instead, it ignores the parameters of this Court’s

summary judgment decision and asks this Court to award zero prejudgment interest because the

underlying liability is substantial. But this Court rejected similar no- or low-interest arguments at

summary judgment, and the judgment’s size only underscores the magnitude of Plaintiffs’ harm




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from being deprived of their contractual due for over a decade. Argentina’s appeal to the

equities—like its alleged hardship from having to pay what it owes—is beyond irrelevant,

especially when Argentina has made no commitment to actually pay the judgment, and when its

claims of poverty in this Court are contradicted by its own officials’ simultaneous boast that YPF’s

massive oil and gas reserves enable it to pay the judgment “with one annual EBITDA” and still

have “150 years of gas reserves,” making the expropriation “a good decision,” and “we would do

it again.” Rhodes Decl. Ex. A (July 28, 2023 statement by YPF Chairman Pablo Gerardo

Gonzalez). Vice-Intervenor Axel Kicillof echoed the point, noting that “the numbers are big”

because the Vaca Muerta resources are valuable and allow Argentina to pay. Rhodes Decl. Ex. B.

       Finally, this Court should reject Argentina’s last-minute effort to throw in an entirely new

issue by challenging the price/income ratios Prof. Fischel used to calculate damages. Argentina

never raised that purported issue in its expert reports, its summary judgment briefing, or even in

its pretrial memorandum, making the issue thoroughly forfeited and well outside the scope of this

trial. And there is a reason Argentina’s learned counsel did not raise this purported $3.4 billion

issue earlier: Argentina’s criticism of Prof. Fischel’s calculations is plainly incorrect, as the ratios

that Prof. Fischel used were the only price/income ratios that were actually used by investors and

computed by the financial community for “reporting purposes” on a daily basis “during” the two-

year look-back period. PX-3 at 7 (Bylaws § 7(f )(v)(D)). The fact that a single database later also

provides revised numbers does not change that reality—and in any event, the Bylaws entitle

investors to the highest relevant price/income ratio. This Court should find that Argentina

breached its Bylaws obligations on April 16, 2012, award prejudgment interest at 8%, reject

Argentina’s remaining arguments as forfeited and meritless, and enter judgment for Plaintiffs.




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                                           ARGUMENT

I.     Argentina Exercised Control of Repsol’s Shares on April 16, 2012

       The record is clear: Argentina exercised at least indirect control of Repsol’s shares, and

therefore triggered its tender-offer obligation under the Bylaws, when it issued the Intervention

Decree on April 16, 2012. As an initial matter, that follows from the basic purpose of the Decree,

since (as Argentina has repeatedly conceded) the Decree gave Argentina total and undisputed

control of YPF as a company. See, e.g., ECF No. 466, at 4-5 (Argentina Pre-Trial Mem.); Tr. 28:7-

10. To be sure, as this Court has already correctly ruled, the Bylaws’ trigger for the tender-offer

obligation is direct or indirect control of 49% of YPF’s shares, not control of YPF itself. ECF No.

437, at 56. But Argentina has not explained—and cannot explain—how it could wrest control of

a publicly traded company from its majority shareholder without exercising even indirect control

of the majority shareholder’s shares. The record here shows precisely why that was impossible:

By taking control of the company, Argentina necessarily deprived Repsol of the key rights

associated with its majority shares, including the right to appoint those exercising the power of the

YPF Board. See, e.g., Tr. 79:17-82:18 (Bianchi); Tr. 283:19-24, 285:17-24 (Manóvil).

       In all events, the Decree gave Argentina not just control of the company as of April 16, but

at least indirect control of Repsol’s shares, and deliberately so. See PX-11 at 2 (targeting “majority

shareholder” because its “interests” were at odds with Argentina’s); Tr. 75:7-76:13 (Bianchi). The

relevant facts are not in dispute. Before April 16, Repsol had full control of its majority stake in

YPF and (as Dr. Manóvil conceded) could use its shares to govern the company. Tr. 273:21-274:9,

278:3-22. It could use those shares to appoint or remove board members, vote at shareholder

meetings to approve dividends and direct corporate policy, and exercise all the considerable powers

of a majority shareholder. Tr. 79:17-82:18 (Bianchi); Tr. 278:3-22 (Manóvil). After the Decree,

by contrast, Repsol had no ability to exercise those powers (as Dr. Manóvil conceded), and


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Argentina controlled them instead. Tr. 276:2-5. Repsol could no longer appoint or remove those

with the powers of the Board, see Tr. 79:17-82:18 (Bianchi); Tr. 285:17-24 (Manóvil), as those

powers had all been vested in the government-appointed Intervenor, and the Repsol-elected Board

was “displaced” and rendered “devoid of any powers, functions, or duties,” Tr. 276:2-5, 276:24-

277:17 (Manóvil); see Tr. 77:9-13 (Bianchi); PX-29 at 131; see also Tr. 283:19-24 (Manóvil)

(recognizing that Repsol was powerless to remove the Intervenor). Repsol likewise could not vote

its shares at any shareholder meeting (and so could not approve the proposed capital distribution),

see Tr. 279:15-19 (Manóvil); PX-6 at 11, as the Intervenor controlled whether any such meeting

was held (and suspended the scheduled meeting to ensure that Repsol would have no ability to

vote its shares and no distribution would be made), PX-24; Tr. 278:23-25 (Manóvil). In the words

of the Second Circuit: “Argentina did indeed exercise the rights of Repsol’s shares, using them to

cancel YPF’s previously-scheduled dividend payment and [shareholders’] meeting in April 2012.”

Petersen Energía Inversora S.A.U. v. Argentine Republic, 895 F.3d 194, 203 (2d Cir. 2018). While

Argentina did not formally vote Repsol’s shares itself on April 16, it unequivocally controlled the

shares on that date, as Prof. Bianchi testified. Tr. 83:23-84:23.

       The market’s reaction confirms the point. After the Decree, YPF shares dropped by over

40%. PX-47; Tr. 188:22-189:11 (Fischel). By contrast, when the Expropriation Law took effect

on May 7, YPF shares declined only 3%, making clear that “investors understood that, as a matter

of economic substance, the actions that mattered occurred on April 16th, not on May 7th.” Tr.

189:7-11 (Fischel). Vice-Intervenor Axel Kicillof likewise understood on April 17 that the Decree

had “modif[ied] the control that until now belonged to the Repsol group.” PX-15 at 22.

       Even more telling is the considered decision of Argentina’s federal appraisal agency, the

TTN. In its February 17, 2014 decision, the TTN appraised the property that was seized—namely,




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“fifty-one percent (51%) of YPF Sociedad Anónima equity … held by Repsol.” PX-35 at 1. And

it appraised that property as of the date on which Repsol was dispossessed, which the TTN

concluded was April 16, 2012. Id.; see Tr. 87:11-88:14 (Bianchi). Argentina has no answer

whatsoever to that dispositive what-and-when finding from its own federal appraisal agency.

       Instead, Argentina did its best to conflate that February 17, 2014 TTN decision with a

separate TTN decision issued on February 25, 2014 in connection with the Repsol settlement, see

PX-36 at 81-82, and to assert the TTN was focused not on the expropriation of Repsol’s 51% of

YPF but on other related litigation claims. See Tr. 304:5-305:7, 312:21-313:1 (Uslenghi). That

strained effort not only ignores the February 17 decision, which pre-dated the settlement, but also

contradicts the February 25 decision, which makes explicit (as Judge Uslenghi admitted) that it

provided an “appraisal of the shares,” PX-36 at 81; Tr. 306:14-19, as of “the date of the

dispossession” by the Decree, PX-36 at 82.1 Again, Argentina’s officials agreed. Daniel Martin,

the TTN panel’s head, told the Chamber of Deputies that the TTN’s “appraisal was carried out as

of the dispossession date, in accordance with Article 20 of the Expropriation Law, which was April

16, 2012.” PX-39 at 5; PLA-7 at 3. Carlos Zannini, then Secretary of Legal and Technical Affairs

of the Presidency, concurred that “the taking of possession … was in April 2012.” PX-39 at 1.

       Argentina’s trial presentation only confirmed that Argentina took at least indirect control

of Repsol’s shares on April 16. It conceded that it controlled YPF as a company on that date, see

supra p. 4, without offering any explanation for how it could control YPF and correct the majority

shareholder’s “predatory policy” without even indirectly exercising control of Repsol’s shares.

PX-11 at 2. It also largely ignored the Bylaws’ broad, functional direct-or-indirect and by-any-



1
  Ironically, Argentina’s strained effort to link the second TTN report’s April 16 “dispossession”
date to Repsol’s other claims—namely Argentina’s failure to tender for Repsol’s 7% YPF stake
that was not expropriated—confirms the tender was due, and the Bylaws breached, on April 16.


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means language. PX-3 at 22 (Bylaws § 28(A)). Instead, Argentina insisted that its tender-offer

obligation was not triggered until it acquired and exercised the formal right to vote Repsol’s shares,

eliciting testimony that Argentina did not actually vote those shares itself until June 4. See, e.g.,

Tr. 110:2-11 (Bianchi); Tr. 266:25-267:3 (Manóvil). That may be the best argument Argentina can

muster, but it underscores that Argentina is ignoring the Bylaws’ text, which triggers the tender-

offer obligation when Argentina “exercises the control of ” the shares, not when it exercises the

voting rights of the shares. Every time Argentina and its witnesses emphasize June 4 as a critical

date, they are ignoring the Bylaws’ text and this Court’s summary judgment ruling, which set May

7 as the latest possible date. ECF No. 437, at 28; see Tr. 83:23-84:23 (Bianchi) (explaining the

difference between exercising control of the shares and exercising the voting rights of the shares).2

       In sum, Argentina’s claim that it did not trigger its tender-offer obligation until it acquired

or exercised formal authority to vote Repsol’s shares is just as wrong and atextual as Argentina’s

previous (and firmly rejected) position that it did not trigger that obligation until it took formal

title in 2014. ECF No. 437, at 27-28. To be sure, Argentina also exercised control of the shares—

by a different “means or instrument,” PX-3 at 22 (Bylaws § 28(A))—on May 7, 2012, when the

Expropriation Law took effect, and in May 2014, when it took formal title. See PX-11 at 8 (Decree

immediately “ensure[d] the full and absolute compliance of the measures … in the [Expropriation]

Bill”); Tr. 73:1-4 (Bianchi) (Decree “accomplished the goals of the [E]xpropriation [L]aw”). But

the question here is not whether Argentina also exercised control on May 7, or acquired different

or additional rights on that date; it is just whether the Intervention Decree on April 16 was enough



2
  Dr. Manóvil’s testimony on corporate control for private-law purposes has no bearing on the
Bylaws question of when control is exercised over shares, which Dr. Manóvil conceded is not an
Argentine corporate or private-law concept at all. See Tr. 287:3-19. His focus on corporate control
is doubly irrelevant, since Argentina concedes it acquired control of YPF on April 16.



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to give Argentina direct or indirect control of the shares and so trigger its tender-offer obligation.3

As a matter of Argentine public law and economic reality, the answer is plainly yes. Tr. 71:3-73:4,

74:8-21, 75:17-78:5, 79:5-82:18 (Bianchi); Tr. 183:9-185:25 (Fischel).

       Finally, as Prof. Fischel explained, Argentina’s position that it could retake control of YPF

by executive decree without triggering its tender-offer obligation makes no economic sense. See

Tr. 177:23-179:20. The Bylaws’ tender-offer provision was a precommitment that promised

investors, in the Second Circuit’s words, “a compensated exit from their ownership position in the

firm if Argentina were to decide to renationalize YPF,” Petersen, 895 F.3d at 200, and that investors

relied on in deciding to invest $1.1 billion in the company through the New York Stock Exchange

alone, see Tr. 181:25-183:8, 187:9-188:21 (Fischel). If Argentina could renationalize YPF by

executive decree without taking even indirect control of the shares or triggering its tender-offer

obligation—and then extend that executive decree indefinitely, see Tr. 281:7-282:1 (Manóvil),

DX-22t at 2—that precommitment would have been illusory. Argentina’s reading of the Bylaws

accordingly fails the financial-markets test: If Argentina made its view of the Bylaws clear in

1993, no reasonable investor would have bought YPF shares. See 180:12-183:8 (Fischel). On this

record, the only possible conclusion is that Argentina triggered its tender-offer obligation under

the Bylaws on April 16, 2012, when it issued the Intervention Decree.4


3
  For that very reason, there is no contradiction between Prof. Bianchi’s testimony at trial that the
Intervention Decree triggered Argentina’s tender-offer obligation on April 16, and his statements
in his first report that the Expropriation Law (on which he was then being asked to focus) also
triggered that obligation—especially since all three of his reports make clear that both events
triggered the tender-offer provision. See PX-81 § D; id. ¶ 38; see also PX-70 ¶¶ 28, 113, 116-121,
133-135, 145; PX-82 ¶¶ 11, 36.
4
  Argentina’s gratuitous attacks on the character of two experts who did not testify, see Tr. 494:22-
495:19, are wholly misguided. Plaintiffs chose not to call Prof. Garro and Prof. Rovira—one of
whom is Argentina’s own expert’s co-author, see ECF No. 368-1, at 32 (¶ 69)—because this
Court’s summary judgment order did not leave open any issues that their testimony would have
clarified, as confirmed by the fact that Argentina could have called either witness, but chose not to.


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II.    This Court Should Award 8% Prejudgment Interest from April 16

       The answer to the second issue presented at trial is equally clear. As this Court has held,

“this case involves purely commercial obligations,” and so Argentina must pay prejudgment

interest at “the commercial rate applied by Argentine courts.” ECF No. 437, at 62-63. As Plaintiffs

explained at summary judgment (relying on many of the same cases presented at trial), see id. at

62, that rate ranges from 6% to 8%. In particular, as the trial record underscores, five of the six

panels of the National Court of Appeals for Commercial Matters consistently award prejudgment

interest in the 6% to 8% range or above. See, e.g., PLA-9; PLA-10; PLA-15; PLA-21; PLA-81;

see also Rhodes Decl. Ex. C (collecting cases). Indeed, Dr. Manóvil himself conceded on cross-

examination that apart from decisions by one outlier panel, he was not aware of any “[modern]

interest rates” in other cases from that court below that range. Tr. 293:9-14.

       And for this case, the only appropriate rate within that range is 8%. Argentina paid Repsol

for its expropriated YPF shares with $5 billion in government bonds, including debt carrying

compound interest exceeding 8%. See PX-36 at 84. And, as Prof. Fischel testified, even 8% simple

interest will substantially undercompensate Plaintiffs, as both Argentina’s borrowing rate and

Plaintiffs’ losses have been far greater and compounding. If Plaintiffs “had made a loan to

Argentina for the amount that is owed,” then “the interest rate compounded would be much greater

than 8 percent.” Tr. 174:13-175:22. Argentina presented no contrary testimony, leaving the record

clear that any rate below 8% would only exacerbate the injury Plaintiffs have suffered by being

forced to serve as involuntary creditors for over a decade.

       Because Argentina cannot dispute those simple facts, its lead approach at trial was to ask

the Court to ignore them and its own summary judgment ruling, and instead award no prejudgment

interest at all. That cannot be squared with Argentine law, which mandates some prejudgment

interest award, explaining why Argentina has not identified a single case awarding none. See


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PLA-4 at 2 (Art. 508) (debtor “is also liable” for damages from “delay in the performance of the

obligation”); id. at 14 (Art. 622) (“[T]he courts shall fix the interest that the debtor must pay.”).

Nor can it be squared with a proper exercise of this Court’s discretion. Contrary to Argentina’s

suggestion, see Tr. 57:8-58:3, the size of the underlying judgment is no reason to reduce the award

of prejudgment interest. Instead, the size of the judgment only confirms the magnitude of the harm

Plaintiffs have suffered from Argentina’s failure to meet its obligations for over a decade, and the

need for prejudgment interest to compensate for that harm. See Tr. 174:13-175:22 (Fischel).

       The other purported “equitable” considerations Argentina raises are irrelevant as a matter

of Argentine law. The only such “equitable” factor that Argentina’s cases consider is whether the

interest rate is too high relative to market rates, see, e.g., PLA-28 at 2—which is not the case here,

given the conceded non-existence of willing hard-currency loans—and Argentina has not cited a

single case in which a court adjusted prejudgment interest based on a defendant’s supposed

inability to pay what it owes. Rather, as Dr. Manóvil admitted, Argentine courts have approved

rates above 8% even for a bankrupt defendant. See Tr. 288:17-22, 290:16-291:1, 291:22-292:5.

       In any event, Argentina should not be heard to appeal to equity unless it is willing to commit

to actually paying the judgment when its promised appeals are exhausted—a precommitment that

Argentina has been distinctly unwilling to make. And Argentina’s claims of poverty are belied by

its own officials, who were publicly representing—at the same time that its lawyers were pleading

poverty—that YPF’s massive oil and gas reserves would allow it to pay the judgment readily, and

that despite the looming judgment the expropriation was “a good decision,” and “we would do it

again.” Rhodes Decl. Ex. A; see Rhodes Decl. Ex. B (July 30, 2023 statement by Mr. Kicillof that

if Argentina had complied with its tender-offer obligation, it “would have paid the same [amount]

that [Plaintiffs] are now asking us to pay,” and that expropriation “worth it” given YPF’s reserves).




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       Argentina’s fall-back arguments for lower interest rates are equally unavailing. This Court

already rejected at summary judgment Argentina’s attempt to reduce its interest obligations by

relying on the rates applied by its “federal administrative law courts,” ECF No. 437, at 62-63, and

Argentina’s similar attempts to rely at trial on other inapposite rates are equally unpersuasive.

       Argentina primarily asks this Court to apply prejudgment interest at the Argentine national

bank’s deposit rate plus 2%, based on decisions from one understaffed panel of the National Court

of Appeals for Commercial Matters. See Tr. 269:7-270:15 (Manóvil). But the cases Argentina

cites from that two-judge outlier panel—whose former (and never-replaced) third judge

consistently dissented on this issue, see, e.g., PLA-17; PLA-51—apply Article 768 of the Unified

Civil and Commercial Code, which the parties agree does not apply here because it went into force

only in 2015. And the rate that outlier panel applies, as Dr. Manóvil conceded, is one that was

invented because “for many years” the Argentine national bank has had “no loans in foreign

currencies,” Tr. 269:7-25, a fact that underscores that even an 8% rate will give Argentina a better

rate than it could secure in the market. Alternatively, Argentina briefly sought at trial to rely on

interest awards by the Federal Court of Appeals in Civil and Commercial Matters, see Tr. 270:16-

271:1—an argument Argentina never raised at summary judgment or in its pretrial brief and that

defies this Court’s summary judgment ruling. That court hears only cases involving certain

defendants or subject matters specified by statute, mostly cases involving the Argentine

government or federal agencies. See Rhodes Decl. Ex. D (Art. 38); Ex. E (Art. 46); Ex. F (Arts.

66-67); Ex. G (Arts. 67, 73-74). Its interest awards are thus irrelevant to this case involving “purely

commercial obligations.” ECF No. 437, at 63.

       Finally, Argentina asserted at trial that prejudgment interest should run not from the date

when the tender offer should have occurred, but from the date Plaintiffs served their complaints.




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Of course, Argentina never raised that argument at summary judgment, and it is has no bearing on

the “precise rate” of prejudgment interest that this Court reserved for trial, id., making the issue

both inapposite and forfeited. Regardless, Argentina’s position is meritless. First, the Argentine

Civil Code makes clear that a debtor “owes the interest … from the time of [the obligation’s]

maturity,” PLA-4 at 14 (Art. 622), as Dr. Manóvil conceded in his report, see ECF No. 368-2,

¶ 150(iv). Second, even if (as Dr. Manóvil claimed at trial) interest cannot run until the debtor is

on notice of its default, Argentina was plainly on notice by April 17, when Vice-Intervenor Kicillof

explicitly repudiated the tender-offer obligation as a “bear trap” for “fools” and confirmed that

Argentina knew of its obligations and was “not going to pay,” making any further notice futile.

PX-15 at 25-26; see PLA-11 at 4 (discussing automatic default upon repudiation). Third, even if

further notice of default were required, Argentina received it no later than May 16, 2012, when

Repsol filed a class-action complaint against Argentina “on behalf of a class consisting of all record

or beneficial holders of Class D shares of YPF stock,” including Plaintiffs. PX-28 ¶ 44.

       In short, as Kicillof ’s April 17 speech makes clear, Argentina was well aware 11 years ago

that it had a commercial obligation to pay up to $19 billion under the Bylaws’ tender-offer

provision, see PX-15 at 25-26, and it consciously chose not to satisfy that obligation. Under the

law and this Court’s summary judgment decision, the only proper prejudgment interest award here

is 8% simple interest from the date on which Argentina failed to tender.

III.   Argentina’s Attack on Prof. Fischel’s Calculations Is Forfeited and Meritless

       Last and least, this Court should reject Argentina’s forfeited and meritless challenge to the

price/income ratios that Prof. Fischel used to calculate the tender-offer price under Formula D.

Argentina raised no argument whatsoever along those lines in either its expert’s report, see Tr.

402:23-403:6 (Harris), or its summary judgment briefing, instead arguing only that Prof. Fischel

erred by using daily price/income ratios rather than quarterly ones. This Court squarely rejected


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that argument, holding that Prof. Fischel’s “application of Formula D based on the daily

price/income ratios is correct and required by the Bylaws.” ECF No. 437, at 62. Argentina did

not seek reconsideration of that holding on the ground that Prof. Fischel’s price/income ratios were

wrong. Nor did it raise that purported issue in any of its other pretrial filings, including even its

pretrial memorandum. On the contrary, its pretrial filings repeatedly confirmed that there were

only “two issues” set for trial—the trigger-date and interest-rate issues this Court identified. ECF

No. 454, at 4; see also ECF No. 452, at 1; ECF No. 466, at 1; ECF No. 457, at 3.

       Argentina’s attempt to raise this purported $3.4 billion issue for the first time in its opening

statement, see, e.g., Tr. 26:21, comes far too late. “Once a district judge issues a partial summary

judgment order removing certain claims from a case,” the parties may not adduce additional

“evidence … in regard to those claims.” Leddy v. Standard Drywall, Inc., 875 F.2d 383, 386 (2d

Cir. 1989). At summary judgment, Argentina raised only one challenge to Plaintiffs’ price/income

ratios: that they should be calculated “quarterly, as opposed to daily.” ECF No. 437, at 53; see Tr.

402:23-403:6 (Harris). Having “made the strategic decision to develop a record and argue” for

quarterly price/income ratios and nothing else, Argentina “cannot now cry about the unfairness of

not being permitted to change its strategy, at Plaintiffs’ expense.” ECF No. 464, at 9.

       In any event, this late-breaking argument did not make the summary judgment cut for good

reason. The Bylaws calculate the tender-offer price under Formula D by using “the highest

price/income ratio for [YPF] during the two-year period immediately preceding the notice date,”

applying “the regular method used by the financial community for computing and reporting

purposes.” PX-3 at 7-8 (Bylaws § 7(f )(v)(D)). It is undisputed that on each day “during” the two-

year look-back period, the only price/income ratio used by investors and “the financial community

for computing and reporting purposes” for that day was the ratio that Prof. Fischel used in his




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calculations, based on the earnings reported as of that date. That was the ratio reported on that day

by Bloomberg, by the Wall Street Journal, by FactSet, and by the Argentine stock exchange itself,

and no one else in the financial community applied (or could have applied) any other method on

that day. See Tr. 151:18-21, 418:21-23, 420:9-12, 421:9-11, 425:1-12. And contrary to what

Argentina at times suggested at trial, see, e.g., Tr. 52:7-53:9, Bloomberg still reports that ratio for

that date today (through a point-in-time feature available at no extra cost, contra Tr. 516:14-16),

as do the Wall Street Journal, FactSet, and the Argentine stock exchange. See Tr. 419:12-16,

420:20-24, 421:16-19, 427:17-23. That is hardly surprising, as even Argentina’s expert Prof.

Harris confirmed that calculating price/income ratios on a point-in-time basis is “a function of

most data providers,” Tr. 429:5, and “a regular method used by the financial community for

computing [and] reporting earnings,” Tr. 416:25-417:4; see Tr. 350:15-17; 409:5-10.

       Argentina nevertheless belatedly argues for a different (and lower) ratio, claiming that it

was legal error for Prof. Fischel not to use a price/revised-income ratio that Bloomberg—and only

Bloomberg—subsequently recalculates based on later-reported earnings information. See Tr.

52:7-53:9. That argument is meritless. The Bylaws calculate the price under Formula D using

“the highest price/income ratio” for YPF “during” the look-back period for “reporting purposes,”

PX-3 at 7-8 (Bylaws § 7(f )(v)(D)), not a lower ratio calculated later based on information

unavailable in real time. Put simply, the fact that Bloomberg chooses to provide its users with not

only the price/income ratio that it and all other financial services reported on the date in question,

but also a recalculated ratio based on later-reported earnings information, see Tr. 428:5-11, does

not change the fact that only the former is the ratio used “during” the look-back period for

contemporaneous “reporting purposes,” PX-3 at 7-8 (Bylaws § 7(f )(v)(D)).                Contrary to

Argentina’s suggestion, Formula D does not direct someone calculating the tender-offer obligation




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to use only the most up-to-date data. Indeed, the look-back portion of Formula D applies only if

the historical ratios during the look-back period are higher than the more up-to-date price/income

ratio prevailing in the last four reported quarters, see Tr. 163:24-165:7 (Fischel), and the Bylaws

elsewhere expressly call for adjustments based on subsequent developments where appropriate,

PX-3 at 7 (Bylaws § 7(f )(v)(C) requiring adjustment based on “subsequent division of shares”).

And even if this Court were to conclude both ratios were potentially applicable under the Bylaws,

the Bylaws make clear the “highest” should prevail, id., which is the ratio that Prof. Fischel used.

       Finally, only Prof. Fischel’s calculations are consistent with the purpose of Formula D.

Formula D includes a two-year lookback window to give minority shareholders the benefit of the

highest price that investors were willing to pay during that period for YPF shares in relation to

reported earnings. See Tr. 164:15-166:8, 167:7-16. No investor put new money into YPF based

on Bloomberg’s revised calculations that were unavailable in real time; all those investment

decisions were based on the contemporaneously available price/income ratios reported by

Bloomberg and everyone else, i.e., the ratios Prof. Fischel employed. Tr. 158:4-159:20. Prof.

Fischel’s calculations thus correctly follow both the plain text of the Bylaws and the

precommitment that the Bylaws reflect.

       In short, Argentina’s learned counsel did not simply overlook a viable $3.4 billion defense

in its expert reports, its summary judgment briefing, and all its pretrial filings. That purported

defense wound up on the cutting-room floor because it belongs there, as it cannot be squared with

either the Bylaws or the undisputed record. This Court should find Argentina breached its Bylaws

obligations on April 16, 2012, award prejudgment interest at 8%, reject Argentina’s remaining

arguments as forfeited and meritless, and enter judgment for Plaintiffs accordingly.




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Dated: August 4, 2023               Respectfully submitted,

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